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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                                Orlando DIVISION

In re:
                                                                       Case No.: 19-02033
DAVID R BILLSBOROUGH                                                             Chapter 7
PATRICIA A BILLSBOROUGH

                      Debtor(s)     /


                                  NOTICE OF HEARING

         NOTICE IS HEREBY GIVEN THAT: A preliminary hearing will be held on

December 10, 2019 at 2:45 p.m. in Courtroom #6D on the 6th floor, 400 W Washington

St, Orlando FL 32801, before the Honorable Cynthia C Jackson, United States

Bankruptcy Judge, to consider and act upon the following:

         Motion to Sell [32]

         Appropriate Attire: You are reminded that Local Rule 5072-1(b)(16) requires that

all persons appearing in Court should dress in business attire consistent with their

financial abilities. Among other things, a coat and tie are appropriate for a man; a dress

or pants suit is appropriate for a woman. The hearing may be continued upon

announcement made in open Court with further notice. Due to heightened security

procedures persons must present photo identification to enter the courthouse.

         I HEREBY CERTIFY that on this 14th day of November 2019, at true and correct

copy of the foregoing has been furnished by CM/ECF Electronic Mail or by US Mail to

all parties listed below.

US Bank National Assn c/o Christopher Salamone, Esq. via ECF and all parties on the
attached mailing matrix
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Via Certified Mail:
Bank of America Corporate Center, 100 North Tryon Street, Charlotte, NC 28255; Attn:
President, Officer, Manager, Managing, Agent, where creditor routinely does business

SPS, P.O. Box 65450, Salt Lake City, UT 84165; Attn: President, Officer, Manager,
Managing, Agent, where creditor routinely does business

                                                         /s/ Arvind Mahendru
                                                         ARVIND MAHENDRU
                                                         5703 Red Bug Lake Rd. #284
                                                         Winter Springs Florida 32708
                                                         Telephone: (407) 504-2462
                                                         amtrustee@gmail.com
